Case 1:19-cr-00018-ABJ Document 207 Filed 09/15/19 Page 1 of 3
        Case 1:19-cr-00018-ABJ Document 207 Filed 09/15/19 Page 2 of 3



HALLORAN FARKAS + KITTILA, LLP         TARA A. CAMPION
DDC Bar No.: 99673                     FL Bar: 90944
1101 30th Street, NW                   BRUCE S. ROGOW, P.A.
Suite 500                              100 N.E. Third Avenue, Ste. 1000
Washington, DC 20007                   Fort Lauderdale, FL 33301
Telephone: (202) 559-1700              Telephone: (954) 767-8909
Fax: (302) 257-2019                    Fax: (954) 764-1530
pf@hfk.law                             brogow@rogowlaw.com
                                       tcampion@rogowlaw.com
                                                   Admitted pro hac vice

ROBERT C. BUSCHEL                      GRANT J. SMITH
BUSCHEL GIBBONS, P.A.                  STRATEGYSMITH, PA
D.D.C. Bar No. FL0039                  D.D.C. Bar No.: FL0036
One Financial Plaza, Suite 1300        401 East Las Olas Boulevard
100 S.E. Third Avenue                  Suite 130-120
Fort Lauderdale, FL 33394              Fort Lauderdale, FL 33301
Telephone: (954) 530-5301              Telephone: (954) 328-9064
Fax: (954) 320-6932                    gsmith@strategysmith.com
Buschel@BGlaw-pa.com


CHANDLER P. ROUTMAN
D.D.C. Bar No. 1618092
501 East Las Olas Blvd., Suite 331
Fort Lauderdale, FL 33301
Tele: (954) 235-8259
routmanc@gmail.com
         Case 1:19-cr-00018-ABJ Document 207 Filed 09/15/19 Page 3 of 3



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 15, 2019, I electronically filed the foregoing

with the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day

on all counsel of record or pro se parties, via transmission of Notices of Electronic Filing

generated by CM/ECF.

                                               ___/s/ Chandler Routman _______________
                                                      Chandler P. Routman

     United States Attorney’s Office for the
             District of Columbia
 Jessie K. Liu
 United States Attorney
 Jonathan Kravis
 Michael J. Marando
 Assistant United States Attorneys
 Adam C. Jed
 Aaron S.J. Zalinsky
 Special Assistant United States Attorneys
 555 Fourth Street, NW
 Washington, DC 20530
 Telephone: (202) 252-6886
 Fax: (202) 651-3393
